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                  UNITED STATED DISTRICT COURT
                   NORTHERN DISTRICT OF TEXAS
                        DALLAS DIVISION


In re: AT&T INC. CUSTOMER DATA        §           Case No. 3:24-cv-00757-E
SECURITY BREACH LITIGATION            §
                                      §           MDL No. 3114
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             RESPONSE TO JUNE 12, 2024 STATUS REPORT
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       The below counsel represent the Plaintiffs in the Sanford (2:24-cv-00261) (E.D. Tex.) and

Carrasco (4:24-cv-00305) (E.D. Tex.) actions. We are in receipt of the June 12, 2024 status report

[ECF 56] filed by Kendall Law Group and Hausfeld LLP (and others), which represents to the Court

that “the majority of Plaintiffs have self-organized and will submit a proposed leadership structure

within seven days.” ECF 56 at 1-2.

       Mark Lanier of the Lanier Law Firm and Chris Seeger of Seeger Weiss LLP have also been

meeting and speaking with counsel in an attempt to organize a leadership structure well suited to

aggressively litigate this case. We will also be ready to submit a proposal to this Court by next week.

We were not contacted by Judge Kendall or the Hausfeld firm and did not know in advance of the

filing submitted to Your Honor on June 12. We are more than happy to coordinate with Judge

Kendall, but to date they have not reached out to us. In the interest of trying to reach consensus, we

will immediately reach out to Judge Kendall. If for any reason the two groups cannot reach

consensus, we are happy to submit a competing proposal to the Court.




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Dated: June 13, 2024                     Respectfully submitted,

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                                         * Motion for pro hac vice admission
                                         forthcoming

                                         Counsel for the Sanford and Carrasco
                                         Plaintiffs



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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on all counsel of record

on June 13, 2024 via CM/ECF, in accordance with the Federal Rules of Civil Procedure.

                                                     /s/W Mark Lanier
                                                     W. Mark Lanier




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